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                              IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF NEBRASKA
UNITED STATES OF AMERICA,                             )
                                                      )
                         Plaintiff,                   )
                                                      )                    8:11CR258
                vs.                                   )
                                                      )                      ORDER
ANTHONY HARLAN,                                       )
                                                      )
                         Defendant.                   )

        Defendant Anthony Harlan (Harlan) appeared before the court on December 19, 2014, on the
Amended Petition for Warrant or Summons for Offender Under Supervision (Petition) (Filing No. 121).
Harlan was represented by Assistant Federal Public Defender Richard H. McWilliams and the United
States was represented by Assistant U.S. Attorney Susan T. Lehr. Through his counsel, Harlan waived
his right to a probable cause hearing on the Petition pursuant to Fed. R. Crim. P. 32.1(a)(1). I find that
the Petition alleges probable cause and Harlan should be held to answer for a final dispositional hearing
before Senior Judge Lyle E. Strom.
        The government moved for detention. Through counsel, Harlan declined to present any evidence
or request a hearing on the issue of detention. Since it is Harlan’s burden under 18 U.S.C. § 3143 to
establish by clear and convincing evidence that he is neither a flight risk nor a danger to the community,
the court finds Harlan has failed to carry his burden and that Harlan should be detained pending a
dispositional hearing before Senior Judge Strom.
        IT IS ORDERED:
        1.      The release order of November 6, 2014, for defendant Anthony Harlan (Filing No. 120)
is revoked.
        2.      A final dispositional hearing will be held before Senior Judge Lyle E. Strom in Courtroom
No. 5, Third Floor, Roman L. Hruska U.S. Courthouse, 111 South 18th Plaza, Omaha, Nebraska, at 10:00
a.m. on February 12, 2015. Defendant must be present in person.
        3.      Defendant Anthony Harlan is committed to the custody of the Attorney General or his
designated representative for confinement in a correctional facility;
        4.      Defendant shall be afforded a reasonable opportunity for private consultation with defense
counsel; and
        5.      Upon order of a United States court or upon request of an attorney for the government,
the person in charge of the corrections facility shall deliver defendant to the United States Marshal for the
purpose of an appearance in connection with a court proceeding.
        DATED this 19th day of December, 2014.

                                                          BY THE COURT:
                                                          s/ Thomas D. Thalken
                                                          United States Magistrate Judge
